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      UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE



     SECURITIES AND EXCHANGE                            JUDGMENT IN A CIVIL CASE
     COMMISSION,
                                                        CASE NUMBER. 2:22-cv-01009-TL
                           Plaintiff,
        v.

     ISHAN WAHI et al,

                           Defendants.




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

       Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.



THE COURT HAS ORDERED THAT

Plaintiff’s Motion for Default Judgment against Defendant Ramani (Dkt. No. 118) is GRANTED
IN PART and DENIED IN PART.

1.     Judgment is ENTERED as to all claims against Defendant Ramani.

2.      Defendant Ramini, his officers, agents, servants, employees, attorneys, and other persons
in active concert or participation with Defendant or with anyone described in herein who receive
actual notice of the Court's Order and/or this Judgment are PERMANENTLY ENJOINED from
committing any further violations, directly or indirectly, by using any means or instrumentality
of interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:
        a.      to employ any device, scheme, or artifice to defraud;
        b.      to make any untrue statement of a material fact or to omit to state a material fact
                necessary in order to make the statements made, in the light of the circumstances
                under which they were made, not misleading; or
        c.      to engage in any act, practice, or course of business which operates or would
                operate as a fraud or deceit upon any person.
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3.   Plaintiff is AWARDED a total of $2,452,806 in monetary damages, which includes:
     a.      disgorgement of $817,602 in ill-gotten gains resulting from Defendant Ramani's
             alleged conduct, and
     b.      civil penalties in the amount of $1,635,204.


     Dated March 1, 2024.

                                           Ravi Subramanian
                                           Clerk of Court

                                           s/Kadya Peter
                                           Deputy Clerk
